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       7
       8
       9                    UNITED STATES DISTRICT COURT
      10                   CENTRAL DISTRICT OF CALIFORNIA
                               (Eastern Division - Riverside)
      11
      12
      13
      14
      15   James Shayler
      16
                                                     CASE NO.: 2:20-cv-10051-MWF-PVC
      17               Plaintiff,

      18                                             The Honorable Michael W. Fitzgerald
                           vs.
      19                                             POINTS AND AUTHORITIES TO
           MMWH Group LLC; Wasim
      20                                             MOTION TO DISMISS
      21   Hamad
                                                     Hearing Date: 6/7/21
      22                                             Time: 10:00 AM
                     Defendants.
      23
      24
      25
      26
      27
      28

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      27
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       1                        POINTS AND AUTHORITIES TO
       2                       MOTION TO DISMISS [FRCP 12(b)1]
       3
                I. INTRODUCTION
       4
       5        This Motion is being made on behalf of MMWH Group LLC and Wasim
       6     Hamad (hereinafter also "Defendants"). Plaintiff, James Shayler
       7
       8     (hereinafter also "Shayler"), filed the instant action against Defendants, in
       9     relation to a property located at 600 N Poplar Ave., Montebello, CA 90640
      10
             (hereinafter also, "Property"), asserting claims for “the Americans with
      11
      12     Disabilities Act; the Unruh Civil Rights Act .”
      13
                II. BACKGROUND
      14
      15        Shayler filed his initial complaint on November 2, 2020. On November
      16
             25, 2020 the Court issued an order declining to exercise supplemental
      17
      18     jurisdiction. As a result, the sole remaining cause of action is under the
      19
             Americans with Disabilities Act. Defendants filed a notice of intent to file a
      20
      21     motion to dismiss on December 4, 2020, and offered to confer with Plaintiff.
      22
             (See Exhibit K-1). The Parties conferred on December 8, 2020, and
      23
      24     Defendants pointed out the defects in the complaint. Instead of conferring in
      25     good faith, Shayler filed a request for the entry of a clerk's default.
      26
      27     Defendants filed a motion to set aside the default, which was granted on
      28

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       1
             February 2, 2021.
       2
       3        Shayler waited for the Defense to file its motion to dismiss, which
       4     Defendants did on February 16, 2021, to file their first amended complaint
       5
       6
             on February 26, 2021. Defendants then requested a second conference,

       7     advising Plaintiff that the complaint continued to be defective (see Exhibit
       8
             K-2). Plaintiff asked for additional time to file a second amended complaint
       9
      10     (SAC) (see Exhibit K-3).
      11
                Having reviewed the SAC, which was filed on April 5, 2021 - and having
      12
      13     surveyed every square inch of the Property - Defendants once again
      14
             requested a conference, advising Plaintiff that the SAC showed little
      15
      16     improvement (see Exhibit K-4). And once again the parties conferred, this
      17
             time on Monday April 19, 2021, and stipulated in writing that Defendants
      18
      19     would file their motion to dismiss after the required pause mandated under
      20
             Local Rule 7-3. True to form, Plaintiff filed a request for the entry of a
      21
      22     clerk's default (Dkt. 39), which Defendants immediately opposed. The
      23     below "barriers," which were alleged by Shayler, were deleted from the
      24
      25
             initial complaint.

      26        - The Absence of a Marked Path of travel
      27
      28

      2094                        POINTS AND AUTHORITIES TO MOTION TO DISMISS - Page 3 -
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       1        - Improper Sidewalk Minimum Width
       2
       3        - Abrupt Changes in Level for Sidewalk
       4        - Abrupt Changes in Level from Reserved Parking Space
       5
                - The Absence of an Adjacent Access Aisle
       6
       7        - Improper Surface Signage
       8
                - The Absence of Accessible Exterior Route
       9
      10        - The Absence of Directional Signage
      11
                - The Absence of an Exterior Route of Travel
      12
      13        The SAC is a pared down version of the initial complaint.
      14
                Therefore, having tortuously satisfied their obligations under Local Rule
      15
      16     7-3, Defendants now file the within motion to dismiss the SAC.
      17
                As to the SAC, Plaintiff provides a laundry list of purported violations
      18
      19     of the Americans with Disabilities Act Accessibility Guidelines (the
      20     Guidelines) that allegedly exist at the parking lot serving Balcom's Market
      21
      22     (hereinafter "the Business"). A van accessible parking space, with an access
      23     aisle, is positioned nearest to the entrance of the Business. (see Exhibit A).
      24
             The striping is faded but clearly visible. There is a "no parking" sign on a
      25
      26     post, and an international sign of accessibility painted on the asphalt. The
      27
      28

      2094                    POINTS AND AUTHORITIES TO MOTION TO DISMISS - Page 4 -
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       1     ground is flat. Yes the asphalt is worn, and there is cracking visible due to
       2
             its age. But Shayler's multiple allegations that the worn asphalt denies him
       3
       4     full and equal access to the Business is preposterous. In order to put to bed
       5
             Shayler's wild assertions about cracks and craters, Defendants surveyed
       6
       7     every square inch of the relevant areas of the parking lot, breaking it down
       8
             to a checkerboard pattern. A photograph was taken of each square. Exhibits
       9
      10     B-A through B-X show the squares. While worn, the surface of the
      11
             accessible parking space, and the adjoining access aisle, are in good
      12
      13     working condition. It is unimaginable that any disabled patron could claim
      14     that he or she was denied access because of its condition.
      15
      16        Exhibit A illustrates Shayler's trajectory, from the parking lot to the
      17     entrance of the Business, which he traversed using a cane. Aside from the
      18
             baseless allegations relating to the asphalt, the complaint is replete with
      19
      20     hyperbole and misstatements of fact. None of Shayler's allegations is
      21
             credible or plausible.
      22
      23        Compliance with Local Rule 7-3: Pursuant to L.R. 7-3 Defense
      24
             Counsel contacted opposing counsel and thoroughly discussed the substance
      25
      26     of the contemplated motion and potential resolution. The conference took
      27
      28

      2094                    POINTS AND AUTHORITIES TO MOTION TO DISMISS - Page 5 -
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       1     place at least seven (7) days prior to the filing of the within motion.
       2
             (Declaration of counsel).
       3
       4        III. DISCUSSION
       5
                There are 279 pages to The 2010 ADA Standards for Accessible Design
       6
       7     (the Guidelines) published by the Department of Justice, and 170 pages to
       8
             the Guidance on the 2010 ADA Standards for Accessible Design. A single
       9
      10     deviation, however minor, from any provision found in their pages, provides
      11
             the pretext for one of a handful of plaintiff’s firms, filing these cases on an
      12
      13     industrial scale, to cash-in.
      14        To be clear, a violation of the Guidelines, alone, does not make a lawsuit.
      15
      16     To maintain a lawsuit, a plaintiff must plead harm that is concrete (not
      17     abstract), and particularized. Shayler pleads no such harm. The complaint
      18
             before us is replete with vague, boilerplate, conclusory allegations,
      19
      20     insufficient to provide notice of the alleged violation, and insufficient to
      21
             assert Article III standing. Even a "tester" plaintiff may not sue a business
      22
      23     for injunctive relief simply because an ADA violation exists. In other words,
      24
             the ADA is not a private attorney general statute.
      25
      26        Shayler, here, cannot vindicate the rights of disabled persons generally.
      27
      28

      2094                     POINTS AND AUTHORITIES TO MOTION TO DISMISS - Page 6 -
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       1     The Attorney General is "the proper entity to bring such an action." 42 U.S.
       2
             C. § 12188(b) ("Enforcement by Attorney General"). While a plaintiff may
       3
       4     obtain an injunction against impending discrimination, this “does not
       5
             transform the ADA into an open-ended private attorney general statute,
       6
       7     because the scope of such an injunction is limited.” Chapman v. Pier 1
       8
             Imports (U.S.) Inc., 631 F.3d 939, 953 (9th Cir. 2011) (en banc). Shayler is
       9
      10     therefore not relieved from the constitutionally imposed burden of
      11
             demonstrating an injury-in-fact and a sufficient likelihood of repeated harm.
      12
      13     Shayler must show at each stage of the proceedings either that he is deterred
      14     from returning to the facility or that he intends to return to the facility and is
      15
      16     therefore likely to suffer repeated injury. He lacks standing if he is
      17     indifferent to returning to the Property or if his alleged intent to return is not
      18
             genuine, or if the alleged barriers do not pose a real and immediate threat.
      19
      20     Chapman, 631 F.3d 939, 953.
      21
                The SAC is essentially a cut and paste job, no different than the dozens
      22
      23     of similar complaints Shayler has filed in the Central District, by way of his
      24
             attorneys (Hakimi /Shahriari). (See Exhibit O, Case No. 2:20-cv-00235-
      25
      26     ODW-KS). A recent such complaint was discredited and dismissed by the
      27
      28

      2094                     POINTS AND AUTHORITIES TO MOTION TO DISMISS - Page 7 -
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       1     Hon. Otis D. Wright (Case No. 2:20-cv-00235-ODW-KS).
       2
                On his third attempt at a worthy complaint, Shayler alleges he visited the
       3
       4     Property on December 16, 2019, August 17, 2020, and September 14, 2020,
       5
             respectively, and that he was deterred from shopping at the Business
       6
       7     because of the condition of the accessible parking space - and his knowledge
       8
             of the entrance door being too difficult to open. It is worth noting that the
       9
      10     initial complaint was entirely silent as to the entrance door. The entrance
      11
             door remains open during business hours (see declaration of Wasim
      12
      13     Hamad). Defendants will demonstrate that the allegations regarding the
      14     condition of the Business do not plausibly suggest an entitlement to relief,
      15
      16     that Shayler has suffered no harm, and that he is not deterred from revising
      17     the Business.
      18
                a. Failure to State a Claim Pursuant to Rule 12(b)(6)
      19
      20        Federal Rule of Civil Procedure 8(a)(2) requires a complaint to include
      21
             "a short and plain statement of the claim showing that the pleader is entitled
      22
      23     to relief." Fed. R. Civ. P. 8(a)(2). A complaint that fails to meet this
      24
             standard may be dismissed pursuant to Rule 12(b)(6). See Fed. R. Civ. P. 12
      25
      26     (b)(6). To overcome a Rule 12(b)(6) motion to dismiss after the Supreme
      27
      28

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       1     Court's decisions in Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 173 L.
       2
             Ed. 2d 868 (2009) and Bell Atlantic Corporation v. Twombly, 550 U.S. 544,
       3
       4     127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007), a plaintiff's "factual allegations
       5
             [in the complaint] 'must . . . suggest that the claim has at least a plausible
       6
       7     chance of success.'" Levitt v. Yelp! Inc., 765 F.3d 1123, 1135 (9th Cir. 2014)
       8
             (emphasis added). The court "accept[s] factual allegations in the complaint
       9
      10     as true and construe[s] the pleadings in the light most favorable to the
      11
             nonmoving party." Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d
      12
      13     1025, 1031 (9th Cir. 2008). But "allegations in a complaint . . . may not
      14     simply recite the elements of a cause of action [and] must contain sufficient
      15
      16     allegations of underlying facts to give fair notice and to enable the opposing

      17     party to defend itself effectively." Levitt, 765 F.3d at 1135 (quoting Eclectic
      18
             Props. E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 996 (9th Cir.
      19
      20     2014)). "A claim has facial plausibility when the Plaintiff pleads factual
      21
             content that allows the court to draw the reasonable inference that the
      22
      23     Defendant is liable for the misconduct alleged." Iqbal, 556 U.S. at 678. "The
      24
             plausibility standard is not akin to a 'probability requirement,' but it asks for
      25
      26     more than a sheer possibility that a defendant has acted unlawfully." Id.
      27
      28

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       1     (quoting Twombly, 550 U.S. at 556).
       2
                The SAC fails because it is primarily based on legal conclusions. A
       3
       4     complaint must contain sufficient allegations of underlying facts to give fair
       5
             notice and enable the opposing party to defend itself effectively, and it must
       6
       7     "plausibly suggest an entitlement to relief, such that it is not unfair to
       8     require the opposing party to be subjected to the expense of discovery and
       9
      10     continued litigation." Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011).
      11     The SAC does not allege such facts.
      12
                Shayler contends that he has difficulty walking and standing; that he has
      13
      14     only partial use of his leg, and suffers from heart failure. He uses a cane.
      15
                Shayler alleges that the access aisle of the accessible parking space
      16
      17     does not adjoin an accessible route. [§502.3]. SAC ¶ 20, p. 6. The path
      18
             Shayler took is demonstrated in Exhibit A. The access aisle adjoins the path
      19
      20     to the entrance of the Business. On each of the three occasions he alleges he
      21
             visited the Business, he parked his car as ordinary patrons would, facing the
      22
      23     wall, exited his car, walked around the back of it, and retrieved his cane
      24
             from the passenger side. SAC ¶ 19. Shayler's allegation is false as the access
      25
      26     aisle adjoining the accessible parking space is clearly present. See Exhibits
      27
      28

      2094                    POINTS AND AUTHORITIES TO MOTION TO DISMISS - Page 10 -
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       1     A and C.
       2
                Shayler alleges that the paint is faded in the disabled parking space
       3
       4     and access aisle. [§502.2]. SAC ¶ 20, p. 8. Shayler argues that “When the
       5
             paint for the designated disabled parking space and access aisle is worn and
       6
       7     aged, there is a greater chance/risk that non-disabled patrons will park in the
       8     designated disabled parking space.” SAC ¶ 20, p. 8. In essence, Shayler
       9
      10     speculates that the faded paint invites trespassers to park in the access aisle.
      11     Aside from being speculative, Shayler's allegation of harm is implausible, as
      12
             it is impossible to fit a vehicle in the access aisle.
      13
      14        Shayler alleges that the “NO PARKING” ground surface sign is
      15
             missing. [§ 502.3.3]. SAC ¶ 20, p. 13. See Exhibit H. Shayler speculates
      16
      17     that the absence of NO PARKING lettering invites trespassers. There is
      18
             ample signage throughout the accessible parking space and the access aisle
      19
      20     to put anyone on noticed that it is an accessible parking space.
      21
                Shayler alleges that the ISA sign is missing at the front entrance. [§
      22
      23     216.6]. See Exhibit J. SAC ¶ 20, p. 14. There is a single entrance to
      24
             Balcom’s Market. Such a sign could be useful if the Business had multiple
      25
      26     entrances. There is only a single entrance. Shayler's allegation of harm, as a
      27     result of a missing accessibility sign pasted on the glass door, is implausible.
      28

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       1
                Shayler alleges that the tow-away sign was missing. [§§ 11B-502.8,
       2
       3     11B-502.8.2]. SAC ¶ 20, p. 15. Shayler was able to make three visits. He
       4     was able to park on each of those three occasions. Shayler's allegation of
       5
       6
             harm because of a missing tow-away sign is highly speculative and

       7     implausible. Moreover, the District Court is not empowered to enforce state
       8
             regulations.
       9
      10        Shayler alleges that the disabled parking space sign was non-
      11
             compliant. [§ 502.6]. See Exhibit I. Yes there is graffiti on the sign. But,
      12
      13     the “no parking” lettering is clearly visible despite the graffiti. Once again,
      14
             Shayler's allegation of harm is speculative and implausible.
      15
      16        Shayler alleges that there are improper hatch lines in the access
      17
             aisle. [§502.2.3]. The hatch lines are indeed visible. See Exhibit C.
      18
      19     Shayler's allegation that he is harmed by the existing hatch lines is
      20
             preposterous.
      21
      22        Shayler alleges improper force to open the front door. [§404.2.9].
      23     SAC ¶ 20, p. 18; and that the door closes at an improper speed. [§
      24
      25
             404.2.8.1]. SAC ¶ 20, p. 19. The door to Balcom’s Market, visible in

      26     Exhibit J, is kept open at all times. (see declaration of Wasim Hamad). The
      27
      28

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       1     force required to open the door is at or near the requirements of the
       2
       3     Guidelines (not exceeding 5 lbs.). The force must be measured from the
       4     open end of the door as opposed to the center. The reading provided by
       5
             Shayler is deceptive.
       6
       7        It is not sufficient for a pleading to "simply recite the elements of a cause
       8
             of action." Starr, 652 F.3d at 1216. Complaints must "plausibly suggest an
       9
      10     entitlement to relief, such that it is not unfair to require the opposing party to
      11
             be subjected to the expense of discovery and continued litigation." Id.
      12
      13     Whitaker v. Tesla Motors, Inc., 985 F.3d 1173, 1177.
      14
                Tesla is part of a trilogy of decisions by the Ninth circuit putting an end
      15
      16     to the vague allegations in complaints filed by frequent filers such as
      17
             Shayler. Whitaker v. Pan. Joes Inv’rs LLC, 2021 U.S. App. LEXIS 1985
      18
      19     (9th Cir. 2020) In Whitaker v. Body, Art & Soul Tattoos L.A., LLC, 2021 U.
      20     S. App. LEXIS 1991 (9th Cir. 2020) (Defendant BAS was represented by
      21
      22     the undersigned on appeal), Whitaker v. Tesla Motor Corp., 2021 U.S. App.
      23     LEXIS 1953 (9th Cir. 2021). All three cases provide that the stringent
      24
             pleading standard established by Iqbal/Twombly apply to disability access
      25
      26     plaintiff’s allegations, and whether they state a claim for relief. Under
      27
      28

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       1     Iqbal/Twombly, to state a claim for relief, Shayler will need to allege “well
       2
             pleaded facts, not legal conclusions.” He does not.
       3
       4        b. The Complaint Is Also Jurisdictionally Defective and Subject to
       5
             Dismissal under Federal Rule of Civil Procedure 12(b)(1)
       6
       7        “[A] disabled individual claiming discrimination must satisfy the case or
       8
             controversy requirement of Article III by demonstrating his standing to sue
       9
      10     at each stage of the litigation.” Chapman, 631 F.3d 939, 946. To establish
      11
             standing, a plaintiff must allege that he or she: “(1) suffered an injury in
      12
      13     fact, (2) that is fairly traceable to the challenged conduct of the defendant,
      14     and (3) that is likely to be redressed by a favorable judicial decision.”
      15
      16     Spokeo, Inc. v. Robins, 136 S.Ct. 1540, 1547 (2016). “Where, as here, a case
      17     is at the pleading stage, the plaintiff must clearly . . . allege facts
      18
             demonstrating each element.” Id. In the context of Americans with
      19
      20     Disabilities Act (“ADA”) actions, where a private litigant is only entitled to
      21
             injunctive relief, the plaintiff “must additionally demonstrate a sufficient
      22
      23     likelihood that he will again be wronged in a similar way. That is, the
      24
             plaintiff must establish a real and immediate threat of repeated injury.”
      25
      26     Fortyune v. Am. Multi-Cinema, Inc., 364 F.3d 1075, 1081 (9th Cir. 2004).
      27
      28

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       1        At this writing we are left in the dark as to how Shayler was denied full
       2
             and equal access. Bare allegations are insufficient to establish “a
       3
       4     particularized injury that affect[s] the plaintiff in a personal and individual
       5
             way.” Safer Chemicals, Healthy Families v. U.S. Envtl. Prot. Agency, 943
       6
       7     F.3d 397, 411 (9th Cir. 2019) (internal quotation marks omitted).
       8
                   [w]hile [the court is] mindful of the generous pleading
       9           standards that apply to civil rights plaintiffs, a liberal
      10           interpretation of a . . . civil rights complaint may not supply
                   essential elements of the claim that were not initially pled. . . .
      11
                   Although [plaintiff] alleges that he is physically disabled, and
      12           that he . . . [personally] encountered architectural barriers that
      13           denied him full and equal access, he never alleges what those
                   barriers were and how his disability was affected by them so as
      14           to deny him the full and equal access that would satisfy the
      15           injury-in-fact requirement (i.e., that he personally suffered
      16           discrimination under the ADA on account of his disability).
      17        Chapman, 631 F.3d at 954. Shayler concludes that he was denied full
      18
             and equal access, but fails to allege any facts which, if true, would
      19
      20     demonstrate this legal conclusion. Shayler's “formulaic recitation” of the
      21
             elements of an ADA claim “fails to sufficiently allege the essential
      22
      23     elements of Article III standing.” Chapman, 631 F.3d at 954.
      24
                Shayler alleges that the surface of the route from the parking stall to
      25
      26     the business entrance is uneven. [§§ 206 and 303]. SAC ¶ 20, p. 7. For a
      27
      28

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       1     start, sections 206 and 303 are provisions designed for wheelchair users, and
       2
             not those who walk. Uneven surfaces and abrupt changes in height, even if
       3
       4     they were to exist, and they do not, do not affect those who are not
       5
             wheelchair bound. (See Exhibit M, a useful guide published by the Access
       6
       7     Board, found at the following URL: https://www.access-board.
       8
             gov/ada/guides/chapter-3-floor-and-ground-surfaces/). To simply allege that
       9
      10     there are violations of section 206 and 303 is utterly meaningless. There are
      11     dozens of subsections to section 206 and 303. Shayler refers to none.
      12
      13
             Simply put, the provisions found in sections 206 and 303 do not apply to

      14     those who are able to walk upright, with the use of crutches or canes.
      15
                Plaintiff uses a cane, and not a wheelchair. It is not reasonable to apply
      16
      17     regulations that were promulgated for wheelchair-users in situations where
      18
             the plaintiff uses a cane. "The district court properly concluded that the
      19
      20     barriers O'Campo alleged would not interfere with the full and equal access
      21
             of a mobility-impaired person who requires the use of a cane, rather than a
      22
      23     wheelchair." O'Campo v. Bed Bath & Beyond of Cal., LLC, 610 Fed. Appx.
      24
             706, 708.
      25
      26        Shayler alleges there are quarter-inch changes in level (SAC, p. 7, line
      27
      28

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       1     26), but does not indicate where, cracked and broken asphalt that create one-
       2
             half inch verticals (SAC, p. 8, lines 2-4), but does not indicate where, that
       3
       4     the path of travel contains “patched, repaired, and leveled” concrete (SAC,
       5
             p. 8, line 6), but does not indicate where. Shayler claims that these “excess
       6
       7     changes in level pose risk” (SAC, p.8, line 9). Shayler's allegation of harm is
       8     speculative and not plausible. Exhibits B-A through B-X show every inch
       9
      10     of the relevant portions of the path of travel. The path of travel, in its present
      11     condition, cannot possibly deny Shayler access, or cause him difficulty.
      12
             Shayler’s allegations that he may “trip and/or fall,” that “such uneven
      13
      14     surfaces caused … difficulty and pain,” or might caused him to "lose his
      15
             balance," without identifying the precise location of the alleged
      16
      17     imperfections in the asphalt, is pure speculation and hyperbole.
      18
                Shayler alleges that the width of the parking space is improper.
      19
      20     [§502.2]. The SAC ¶ 20, p. 9, alleges that there was insufficient space for
      21
             Shayler to exit his vehicle. The combined width of the access aisle and the
      22
      23     parking space exceeds 17 ft. See Exhibit C. Shayler has more than ample
      24
             room "to park" and "safely disembark from the driver’s side of his vehicle.”
      25
      26     In fact, there is enough room for Shayler - and his family - "to park" and
      27
      28

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       1     "safely disembark." This is yet another preposterous allegation. Shayler
       2
             parked facing the wall, walked from the driver's side, behind his car to the
       3
       4     passenger side to retrieve his cane. He had ample room. He would have had
       5
             ample room to retrieve a sofa from his car.
       6
       7        Shayler alleges that the lengths of the parking space [§ 502.2], (SAC
       8     ¶ 20, p. 10), and access aisle [§ 502.3.2], (SAC ¶ 20, p. 11), were
       9
      10     "improper." See Exhibits E and G. Shayler once again misstates facts.
      11     The length of the accessible parking space and the adjoining access aisle
      12
             Measure 18 feet ± what would be allowable for construction tolerances. But
      13
      14     let us assume, for the sake of argument, that the accessible parking space
      15
             were an inch shorter or longer. Shayler cannot explain how that stands to
      16
      17     impact his ability to shop at the Business. Shayler was not harmed, and is
      18
             not deterred from revisiting. The length of the accessible parking space will
      19
      20     not deny him full and equal access.
      21
                Shayler alleges that the parking space and access aisle have
      22
      23     improper cross-slopes, claiming a violation of § 502.4 of the 2010
      24
             Guidelines. SAC ¶ 20, p. 11. Shayler does not identify specifically where
      25
      26     the cross-slope exceeds 2%, and in addition misstates the facts. See Exhibit
      27     E. The cross-slope along his path of travel measures less than the 2%
      28

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       1
       2     allowable under the code. Shayler has not been harmed, and he is not
       3
             deterred from revisiting.
       4
       5        Shayler alleges that the access aisle was the improper width claiming
       6     a violation of § 502.3.1 of the 2010 Guidelines. In the SAC ¶ 20, p. 13,
       7
       8
             Shayler alleges the access aisle is 5 ft.Shayler is simply wrong. The access

       9     aisle measures 6'10" at its narrowest, and 11'6" feet six inches at its widest.
      10
             See Exhibit H. Shayler had ample room to walk around the car and to
      11
      12     remove his cane from the passenger side. He has not been harmed, and he is
      13
             not deterred from revisiting.
      14
      15        Shayler alleges that the ground within the designated disabled
      16
             parking space has a large, open crack and is uneven. [§ 502.4]. See
      17
      18     Exhibits B-E, B-F, and B-L. These exhibits show that Shayler's path of
      19
             travel is completely flat, and free of any cracks or crevices. The crack to
      20
      21     which Shayler refers is under where his car would be parked. Shayler has
      22
             not been harmed, and he is not deterred from revisiting.
      23
      24        Finally, Shayler alleges that the floor mat is unsecured. [§ 302.2].
      25     SAC ¶ 20, p. 20. Section 302.2 applies to wheelchairs only. Shayler’s
      26
      27
             allegation that the floor mat might buckle and that he might trip is purely

      28

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       1
       2     speculative. See Exhibit J. Shayler has not been harmed, and he is not
       3     deterred from revisiting.
       4
       5        The Chapman court recognized that “once a disabled plaintiff has
       6     encountered a barrier violating the ADA, that plaintiff will have a personal
       7
             stake in the outcome of the controversy so long as his or her suit is limited
       8
       9     to barriers related to that person's particular disability.” Chapman, 631 F.3d
      10
             at 947. A plaintiff “cannot satisfy the demands of Article III by alleging a
      11
      12     bare procedural violation.” Spokeo, 136 S.Ct. at 1550.
      13
                c. Shayler Has Not Alleged Facts Demonstrating the Likelihood of
      14
      15     Future Injury
      16
                Even if Shayler sufficiently alleged that he personally encountered
      17
      18     an architectural barrier, he fails to establish a likelihood of future
      19
             injury. “In evaluating whether an ADA plaintiff has established a
      20
      21     likelihood of future injury, courts have looked to: (1) the proximity of
      22     the place of public accommodation to plaintiff's residence, (2)
      23
      24     plaintiff's past patronage of defendant's business, (3) the
      25     definitiveness of plaintiff's plans to return, and (4) plaintiff's
      26
             frequency of travel near defendant.” Molski v. Kahn Winery, 405 F.
      27
      28

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       1
             Supp.2d 1160, 1163 (C.D. Cal. 2005); Chapman, 631 F.3d at 949-50.
       2
       3     Shayler alleges that he stops by the Business after his visits to his
       4     physician's office (located nearby), to buy soda and chips. SAC ¶ 13.
       5
       6
             What is missing from the allegations, though, is whether he has plans

       7     to continue treatment by the physician. Shayler is entirely silent as to
       8
             where he lives, and does not aver the travel time from his residence to
       9
      10     the Business.
      11
                 IV. CONCLUSION
      12
      13        For all the foregoing reasons Shayler's complaint must be dismissed. In
      14
             the alternative, Defendants urge the Court to order that Shayler and
      15
      16     Defendants visit the Property, along with CASp inspectors representing
      17
             each, to identify all access barriers related to Shayler's specific disability.
      18
      19     Defendants urge that the Court order that this be accomplished before the
      20
             parties waste time on unnecessary discovery. The parties should then file a
      21
      22     joint report, and attempt to settle the matter.
      23        \\
      24
      25
      26        \\
      27
      28

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       1
       2
       3       Respectfully submitted:
       4       Date: 4/29/2021
       5
                                                                  SAHELIAN LAW OFFICES
       6
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       8
                                                             ___________________________
       9
                                                                         Ara Sahelian, Esq.
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